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PEEL|M|NAR‘|"S]&TEMEH!

`|`lris Memorandurn ol` i_ntv is submitted in support ot'l]eiendant'.s'. lvllL'l la ET_ _1. l]_al-iE"t' and
i’UR'l“S 111 |-'li_F.E P.t'_`. t"iian't.'"_i motion for an liiJ'rder ptasieint to Fed. iiule l;f`iv. |i'ro. l2tl:11{ti] dismissing
die 1.' fo mplai nt in its entircts. with prej udicc, as it fails to sta1e a cause ot` action upon which relief cort lie

granted

lilaintifl` lil'.oyce Eoriev i"Corie'_'r"" or "PiaintiFi"} commenced tltis aelion l"oliowin g his conviction on
pmstitution related charges tltal originated in i~ievv 'i’orlt eitate Supreme Court: Criminal Term, Count_t- ol`
l‘~lev.' "t"ork. Piaintif]"s Eomp|aint alleges constitutional rights violations. civil conspiraev_ maipraotice.
negligent infliction of emotional distress, unjust enriehrnent. t`raud. and violation oi' l'~.'evv ‘r'orir Etele
deceptive business practices statute .11. set I'orth in detail belong these claims are without merit. deiieiently

pleaded and loaned appiica|:lle iaw.

First. Earr_v is and 1tvns a private investigator appointed h;v' tire court to assist defense counsel
through the Nevv ‘r'orlc L`ounty sitssigned Eeunsei i‘lan. Ei\art",tr tvorited on this case for delensc counsel for
L`or|c}'. {iit:nn Hardj." on or ahct.ti lil.'23-"21]12 through 1211:'1."21112. iitl'ler tile state criminal action had |'iecrt
pending i`or approximately one }'ear, the 1`ederal gov-eminent asstened control ol'P|aintiII's
investigatioivpntseeution. Fedcral charges 1nere filed1 the Federal l]et`entler‘s took over tforlcv's dei`ense-
l‘laintifftvas u[rintaie|y convicted in federal court on tv.o conan ot`se:t trafficking oi`a minor and one eonni
ol`possession of child pornograph}'. Tl'1e criminal conviction has not been overturned or reversed in nov

way .

ins sueh. F|aintit"i`s claim that Barr;.- violated his constitutional rights is without meritc as "Han';."' vt-as

not a "statc aetor“. lif`|airtts arising i`rom an alleged deprivation ot` constitutional rights can onlg.l he made

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against *'statc actors" or those acting under the color of state lawl gs a private ing.£$iigamr miman m MEESL

t'_"eriey's defense counsel "Eart‘}r" heiti liable for a deprivation of constitutional righta as a matter of |avt'.

."viorcover. Plaintiffs claim oi'civii conspiracy is liltewisc fatally flawed. as islew ‘r'orlt law does not
recognize llcivil cortspi racy" as an actionable tort. .-'it.dditionaii_',rr P|aintii`i's claim that the Dcfendants
conspired to deprive F[aintil`fci`his due process rights to a speedy trial is dcficientl}tl pleaded- as the
t_'omplairtt only contains eonclusor_tr and unsupported aliegationa which are insufficient to predicate a snclt

a ciaim, as a matter o|` law.

P|aintiffs legal malpractice claim against *'Barry" must fail because the conviction remains intaci.
lie is unable to allege his innocence or set forth facts to support a "colorable claim oi`innocence"_ dissent

such a showing. a legal maipractice claim related to criminal action earutot sland. as a matter ol` law.

l-astly_ the state causes of action for negligent intliction ot'emotiona| distress. un_'tust enrichment
fraud and deceptive business practices arc similarlyr ilavvcdl as they are dei'tcicntiy pleaded and whollyl
duplicative oi`t'.lorley's malpractice ciai m. Because Piai ntiff brings his claims of negiigent infliction of
emotional distress and fraud in conjunction with one oi`lcgal malpractice Tite damages claimed for ali three
causes of action are identical. Finaliyt Ecrle;tr fails to allege material elements oFa viable claim for unjust

enrichment and deceptive business practices under i'~I."r'_ tien. Eus- Law §34‘.=1.

its set forth more completely below. Plaintif|“s ciaint are without merit and the t'.,`mnpiaint must he

dismissed with prejudice and as a matter of iaw-

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ETFLT` ENT FFi'ti.iTS

t]n January 25. 2012, Flai.ntift`was arrested following an investigation into oniine prostitution rings
which implicated Corlcy as a ring |eader. The tiistricr attorneys lilli`ticc1 New 'r'orit tlounty 1"l_llnl*~i‘r'"'i
charged Plaintift' with one count of promoting prostitution trunning a business} and two counts of
promoting prostitution twhere the prostitute is younger than age i's`i]- assistant Etistrict attorney David
inuan's name appeared on the charging instmmettt. Cirr lanuary 215. 21l'|2 the D.ahi‘r' presented their case to
a grand jnry. which returned with a "trtte bil|“. and the compiaint was superseded by an indictment. attorney
Hard y was assigned to L"or|ey"s case through the blew fork Comtty' Assigned t§`cunsci liefcnder Plan

i assigned founneijl art iitrticle lillil legal assistance program-|

|’iainriff was arraigned in blew "l'orir State 511preme CourL Criminal Tertn - i~ictv "r"orl: t§ounty on
Fcbruary |:i1 211] 2- i-lee F' "4" oi' E:thipit rt. 'll'tc ease was assigned to thc i-lcnorable .i|ustice Bonnic G.
1iit"ittncr. r'tfier his arraigrrmcnt. l11c action was adjourned a number oft'trnes_ Piso' rtlifi`a|legus itt substance
that "i_ilarr_t" ieaited information to the press and sold information to the media. hlo proof ofsaid allegations

exists and thc additional claims oi`Coriey amount to nothing less than ii'oci.

tl'n l*~loventi's:r 15, 21]| 3, a fedch jury found ['orley guiin of ali co unts_ l~'iaintiff wm sentenced to
ten years in prison followed by a ten year probationary releasel i"ts of the date of this suhmission. Flainrill`

remains incarcerated in fcdcrai correctional facility_ His conviction has not been overulmcd_

lite compiainl alleges that.' iii ll'tat Crlertn i-iurdy and [lv"thl"r" conspired to violate li.`orley's speedy
trial rights by "iritentiona|iy delaying to dismiss the case. '* and 121 that all Defendant's violated Corley's due
process rights in conspiring - with raciai animus s by releasing the facts of Plainti i`i‘s criminal case to the
mcdia; and tit that all I]cl'cndant's committed negligent iniiiction of emotional distress by "acting outside

the scope oflhcir duties as public servants*'. and 141 thc i_lei`endant's leichae| .l. BarryJ Forrs dr Fiies |11c.

 

' .-t.rticle iitEi ot`tlie Nea- 'rorir titate Eounry La.w requires that rndividual colonies throughout the Eitate provide cminse|_
investigative services. espert servicei and other services tn indigent persons accused of crimes

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and a1torn-eyl liardy committed malpractice in failing to protect Ccrley's right to a speedy trial and releasing
unauthori'.rcd information to the modia"; and tit that lJet`endant's iviichael J. Harry. Ports dr Fiies. lnc.. and
attorney Hardy were unjustly enriched at Eoriey's espensc by releasing "Plaintiff's case to the mcdia” and
1111 that iilefcssdant's lvlichael .T. Barry. Ports dr Files. lnc.. and attemey iiardy committed fraud by violating
their "oath ofconfrdentiaiity" and 121 that Dct`end_ants lvlichacl 1. Harry PorLs dr Fiies. lnc.1 and attorney
tlatdy violated l‘~i.‘t'. Gcn l:tus Law §Ii=til'. and engaged in unfair business practices by releasing information

to the media_

l'iaintifi`a||egcs to have sustained the following damages.' federal prosecution. estcnded
im prisonment, and severe emotional distrcss. He ciaims some pcrrnutation ofthc aforementioned injuries
for every cause of action. `ihc compiaint demands compensatory damages in the amount of 52.|_11}11-111111.'|11.1
litem hicw "r'orlt fri-tate Eupretne Court Jusrice Bonnic t"_i- Wittner. itt the amount of $."iilii.'iiiitl.mi from

'Barry”. in ll're amount of$ ItElilt},!.|~iiil.il'ii from attorney Hardy. and in the amount of£l .tlt`r|],titi-ti-iltl from
Dai~i "r'.

Si`aNDaRJJ t]F R_E‘lr'iE‘li'l-'

a motion under i~`tu|e 12 ibt[o] sceirs dismissal on the ground that the complaint fails tn state a claim
upon which relief may be granted. Uniinariiy, the complaint need simply "'contain a short and plain
statement of1he claim showing that the pieader is entitled to reiicf." Fed- t'~t. t"iv. P. rita 11 211 Hov.-ever.
conclusory statements and allegations are insufficient to meet this hurdcn_ E.ell atl. t_`orp. v- 'l'womhlt-. 121
5,1_'1- l*i.ia. lend 1211'11?_1: gcgord ashcroft t-'. lrlhoi, 129 S. 1_`t. 1931 1954 tEtltl"il]r tiinding that the "l-'oderal
itules do not require court to credit s complaints conclusory statements without reference to its factual
content" l. a plaintiff must set out facts to show he is entitled to relief_. which requires more than general
labeis. broad conclusions or formulaic recitations of the elements ofa cause ofaction. lwo_mu|r|y. 121' ti. t."t.

at i'i"t'rS: ac@[d ig|i'rai1 12‘§|l S. i..`t. at 1954_

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in order to survive a motion to dismiss a complaint must contain sufficient factual mattcr...to 'statc a
claim to reliefthat is plausible on its face."' Ig@, 1211l E-'r- EL at iil'-t-El 1 q uoting Twom b|y. 121 S. 1_'1. a1
14551"- " a claim has facial plausibility when Ll're plaintiff pleads factual content that allows the court to
draw the reasonable lntirrenee that thc defendant is liable for the misconduct allegcd. " M. ferreting
'| womhly. |2? 's- 1.“_"1. at lilj§`t. l]ctenoinin g whether a complaint states a plausible claim for reliei`is a
"contest-specilic task that requires the reviewing court to draw on itsjudicial esperience and common

sense." 11_1. at lil.§t`|'.

in analyzing a F.ule 12 motion to dismiss1 a court must accept as true all well-pleaded allegations of
the complaint and view those allegations in the light most favorable to plaintiff ltowcver. legal conclusions
couched as a i'acttud allegations is not entitled to the assumption of tmth- free itiopg] v. -1911'."1§`_mp__ l o'.i F_
Jd- |25_ l.'il'l-[2d l12ir_ 1'1"11'111; `I`ttggpi:rl . 122 fi. l."_`t_ at l‘-'iti§'_h.lh_gi. 1211 fi- E‘t. at l?.it`l.

although a pro se litigant is held to less stringent pleading standards dismissal is appropriate whrn‘c
"it appears beyond doubt that he plaintiff can prove no set of facts in support of his claim which would

entitle him to reilef. "' Rodrigugg v."tlr'eprig, 1 115 i", .l-d 112.55-155 f2d t'i`ir. lg‘il'i"`l finternal citations omitted l.

LE'EA !, aRG 11 M I_"..-"'l'l'
Eli]ll'*iT ]

    
         

a 1'|i'r'l'[' DUT R]'I` 'l’ WaE i"'il.".l' E'I`aT alf"l` IR

Plaintiffailcgcs that investigator Erarry and Glertn Hardy. among others. violated his constitutional
due process riggs to a speedy trial by announcing "nut ready [for trial]" on several occasions even though
fl'.-t'tl“'il"tr was not ready. Fl'l'tis claim is asking to art allegation of violation ol'42 il'-S.E`. §1‘1'33. entitled ”Eivil
action for [l»eprivalion ofitighls". Eipecilically1 §151113 states
"lt'rert-_rrer.tt.lrr whit trrrn'er color rt.l"onjy .rt'.ra'trre. rtn:r"r`rrrrncr, regrr.f.o.rfo.u. t'r.r.rrum. or rrroge. o_,r' trn_r .'i`r'rrte or ferritt:-rt or
tire fli.trt't`r“t u_t"tl`t.u'trntftitt. .t'tti!'.rer.'-is. or coates to ne sn'n_,r'ecterf. on_t' citizen q,frfnr L-irr'reri .h'rrrre.s or other person rrr'rfrr'o

tire _,t`rtr'r`.tr.t't`r:titn.l thereof to nbc rt'elpt'r'lvrrr'trrt rtf`uii_v rights pn'it'il'e;gett, rsr fmrrta'.l'i.r'l'te'a sct't.tl"t*ttr ril_t' the 'l.`rrn.rtt`.\'rrt’t'tilrr tr.lh'f
fent'.r_ .r ftert't' he fica fe to tire party t`.g_t'trt-r'rt' frr t.rr;l ration tit hug .rt.rir irr equity ra- rr.tfrer proper ps-oe'eerflng__na- retires _1-

ll-

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42 ii-hl.'[`. § 1923 was intended to provide private parties a cause of action for abuses of official
authority which resulted in the deprivation of constitutional rights privileges and immunities lvlonroe t-.
Epg._ 3155 l_l.S. 153119151 1- To'su fliciently plead a § 1933 claim. Plaintiffmust show thc following the
elements

t`f,ltfr_',larm'rurr deported liter o_,l' bright secured ny tire ri".-ars.rira.tr'orr and laws of the L'nired li'ro-re.s. .12,1 that tire rleyieraasa
tit-garnett her r_r_t".r.ft.i.r constitutional right under refer of rr rt or atc, ortl'inrnu'e. repudiation cat mar or rtnrgr_' r_.-_f.n since or
rcm`ntt'_t': rtrn'.f 131 .lfr.:.tl' r.t'eyl'e'r.tr;irrrrl' actual t.t.l'nn'etl color tg}".vrrt'l'e fmv.

adigltcs v. §.i-l. i'i.regs &C_o..'.'|'iiii U.S. 144119'1'111.

l"urther, 42 Ll_fi.i_'. § 1993 imposes liability on anyone who. uruler color ol'state law, deprives a
person of any rights privileges or immunities secured by the Constitution and laws _l_=;_ 111 a iiingng
iech. ."lo` Ecs_l IU, v. C'ontt'n`r of [lcp'1 of`i‘ig.gltht 1119 F. 3d 233121‘1 C'ir. 19'9'91.' _l§-!essing v. FW|onc;. 5211
1.'..9. 329 1 199 'f]'. `l`hc lif`.ourts have consistently held that the r'core purpose of§ 1923 is to 'provide
compensatory relief to those deprived of their federal rights by state aetors'. Hirdy v. blow 1'r'ork tT'gyI-l£lt_iy

Mgsps_ t.`o[p. t iri-4 F. 3d '1'11912d lif'ir. 19991.' l~`e|@ v_ th.~gtgtlb`i' Il.li. 131 l[l9lid]l; l§ia P. v- lvlcintv'tc
235 F_ 3d '1'-1-9 l2d C'ir. 2{1|311`_1.

 

Based upon the liorcgoing. it has been established that when raising a § 19113 claint, tlte lirst question
is whether the action alleged by the plolntifi`eomes within the dctinitlon ot"under color ol'state |aw*.
t`grlos 1-. 'sa:` ntos- 123 F. 3d di 12a CTir. 199'.11. acting under color ofstate |aw. according the Eourt of
appeals for the Second tj`ircuit 'reouires that the defendant in a 11 19113 action have esetciscd power
possessed by virtue of state law and made possible only because the wrongdoer is clothed with the seniority
cfstate |aw’. i; lt'.ia P, y, hiclntyt_'g, 235 1". 3d at 355.

llerc. litarry is a private investigator who was assigned to assist l*lar'ntiffs atromcy via the l~.'ew
‘r'ork t,`ounty assigned t`.'ounsc| Det`ender l’ian. as sueh. Ean'y was not a "state aca:r". lt is weilssenlcd law
that "....deliense attorneys » even ifcourt -appointed or public defenders - do not act under colors of State

law when performing traditional functions ofcounsel. "' itirug y. hicl*'lac]!y,_ti£li F- dupp. 2d |9'9. 21113

14

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1N.D.hl.‘1. 211111"1 affd 352 F- app‘s 2139 12d t'_`ir. 211111]. additionally. Earry was not an attorney and did oct
nor could itc consent to an y coon atl_ioummenrs.

lvtoreover. when a Flaintiii`cit'il rights claims are unmistakably grounded in a public defender
r'pcrfomtin g traditional functions as counsel. *' such causes of action must be dismissed because 1he public
defender simply 'does not act under color ofthe state law"' irr such circumstances Eollt 13 ountv v. |DM,
454 1.'..9. 312.3251|112 9.{`t.44511913|1-iianyis an assigned investigator. rtt:-l a suite actorl as required to
successfully plead a claim pursuant lo 42 L`.S.'f,`. § 19113_

|n light of the foregoing Plairrriffs claims that E.arry violated his title process and speedy trial rights

arc without merit and must be dismissed accordinglyl

 

l’lsintifi' further alleges that the Defendant engaged in a conspiracy to deprive P|aintiffof his due
process rights lt should be noted that itt hlcw `t'ork. there is no substantive tort of civil con spiracy.
i_f,ii'tar&i__v. [nte `onal em tScrvic _EL,_HE f"- hiupp. 3111'1[1.12.1"~.!-1'.|9351: Steier v. Eciu‘eibir
.25 a.ll'r. 3d 319. 13111 N.‘r".fi..."'d 431 t |st Dept. 211|.'1151. ln other words a civil conspiracy must be coupled
with a substantive theory oi`lltthi|ity' in order lo plead a cause ofactior'.t. 5ee alc@der dr r‘ties.'u'tder pl"hi.'t'.
s mail l~i.'r'- 2d 2152- 2159 3111 .‘~i,‘f.E_2d 546 tl9tior; Bakg; v. "rianggrbuilt 1`o. , 2Ertl a_i§t. 2d 2511 oilli
H-Y-S. 2d 321:'»{3rd Ltept. 19991. {"allegations ot`conspiracy are permitted only to connect that action of
separate defendant with an otherwise actionable tort"]_

in order for a complaint to allege a conspiracy under § 19231 the complaint must "set fonh with
certainty facts showing particulati y what defendant or detendants did lo carry the conspiracy into efi`cct.
whether such acts lit within the framework of the conspiracy alleged. and whether such acts in the ordinary
course of events would proximately cause injury to the plaintiff " fine hamlin l-loday v. Lindgay , 43 | F.

.‘:iupp. 1131l 64314415.[1-1'1.'1". 19331-.

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lvlcreover. a complaint alleging a conspiracy to violate civil rights is held to a heightened pleading

standard. " .iulia - _ "i"orl-: L'il ` ` ' ' 953 F. Supp. 242. 2521E.|_1.l“~l.`1` 19941. a plaintiff

 

asserting a clairn of conspiracy to deprive civil rights must set forth specific facts that demonstrate " a
mutual understanding among the conspirators to take action directed 1owards an unconstitutional end. "
.1_1.1|1£. supra at 252.

l-Iere. the plaintiff complaint fails to make such a showin;._rl Flaint'rffmereiy contends that the
|Je|`errdams acted "co||cctively" and "conspired to violate" his civil rights i'laintifl`failed to plead any
specitic facts to support that conclusory allegationl in Robb`|gs v. Cloutie[, 121 ch. apprt. 423 [2d {`ir.
211115]1. the 9econd l1_"ircuit held that such conclusory and unsupported allegations in support of a Eection

19113 conspiracy claim are subject-to dismissall ln Egphlns. tire hecopd 12 ircuit heid:

.t yrlor'rrti_'i','l ”.rlmuld rnrr.t.-c rrn adler to provide rnrne details of time oral linsurer unit tlre alleged e_g`ti'er o_r"rlre rrrni-lnr'rrre;r-.
lftnt. 1'tsrqrriotot.r overturning only conclrr.ttr.rjr. regan or general allegrnimr.r tour tlns rle_,timrlrrnr novo engaged r'rr o
conspiracy .r.n deprive the pfot'ott_`i_','f ty.f lrt's constitutional rights nrc properly nitrmr'.ssc'rl.' rl_r'_t§i‘itte nrrr.l e.rprnr.rr'er
allegations one insufficient turlet..r rttrt,ol'l,l'isrl fryl spncllir_- instances o_,r"rairt_'crt.rlre:t. “

Ece Hp_l_t_m supra at 425 citing filings y, City of i"~iew "t’ork. 935 F. 2d 94. 99-1'|111 f2d {`ir. 19931_

in ftobhins the plaintiff therein asserted only that defendants "hsve allegedly acted in a concerted
cfforL " have 1'a||egcdiy agreed tc not hire Flaintiff'and to inform other municipalities and private entities trt
refrain from hiring Plaintiff' and "havc allegedly done overt acts in order to effectuate their common plun."
`i`hc l|.'_`oort held that he vague and conclusory allegations were plainly insufficient and affirmed the l'1istr'rct

Cttttrt's dismissal of the Seclitrn 1933 conspiracy claim-

The instant action is analogous to Robbins in that the l’laintit`t' here relies on conclusory and vague
allegations ol`a conspiracy to deprive him cfhis due process rights but fails 1o plead any I`acts to support thc
allegation as sue h, this claim is subject to dismissal as s matter of law. Furtltcr. as argued in Point l supra.
P|ointiff cannot sustain a claim for violation under hection 1933. and therefore. any claim or`a related

conspiracy must necessarily fai|.
lti

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P'Elll"i'l' IlI

 

[`_"ll'l_.l]lildt l`ll.E. §:`],r*r]llrl [}F TNN[}CEN§.:E

`|'o the estenl that F]ainti i`l`s C'omplai.nl contains a cause of action sounding in legal malpractice
such a claim is unavailing and must he dismissed lt is well settled that a Plaintitl' cannot maintain an action
l'or legal malpractice arising from an underlying criminal action unless F|aintiff demonstrates his innocence
as to tltc underlying criminal charges or alleges a "oolorah|e claim of innooenoc." Plaintil'l f_`omplaint fails to
ntalrc such a showing its such. Plaintil`t' legal malpractice arising front negligent representation in a
criminal proceeding, plaintiff mttst allege his innocence or colorable claim of innocence ol'the underlying

offense. tior so long as tire detemtingtion of his guilt of that offense contains Ldisturhed. no cause ofaction

lt't'il| l_LtL" '|."_`_a.r[ricl t'. l_uggey. lll l‘s`.'t:"_Ed '|fi'.§|. lll fill l"t|.l'i.llt:l llilft. 1123 [l'll'E'll tcilatiotts omittet.l;

 

emphasis addedl.

`fo that cnd. it is well settled that "{al plaintiff will not have a cause ofactith to recover damages for
legal malpractice against his fenner criminal defense attorney unless he ultimately succeeds in having the
underlying conviction vacated and indictment dismissod-"' ]Jaly v, FM,_S=|- lt.[l.§id llt]l . littl. ll'fr'_-'l l~i-‘t".li_ld
l'l|l- i"li [Ed lilepl. Et]lltl ]-[emphasis addcdl; lflasem 1 v_ U'N `1]. 23 lt.t',l. 3d ftilt, 3 ll N.‘r'.£- 2d ti-lll tlrtd
Ll\cpl. Etl~ltoltliiecause the determination of the plaintiffs guilt on tlte underlying criminal judgment remains
ttndistur|:ted. no cause of action lies hascd on legal otalpractice."“] Leldo'r. legal Etid Soc'te_rLLl"_- .a. ll .ld
lic.l:i'i'.i'il=t. l~i._'r't`-i. 2d lii-l. l 55 tEd Dept. Etl'l`.t=t,'t tholding that plaintiff failed to state a cause ofaction for
legal malpractice hccause he did not successfully challenge his criminal conviction and conltl neither assert

rita establish his innocenec.f

li"'

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"In order to open the door tier even s colorable claim of innocencc, rlte criminal defendants must free
themselves ofthe conviction. fo`r thc conviction precludes those potential plaintiffs front asserting innocence
in a civil tria|_ lL[t_v. Leggl laid Socigtv. lnc. , 95 ls|."t’, 2d 441 ill ll l"~l."r’_£- 2d 254 tltll`H]l.

llere. Flaiutiffs flomp|aint contains asingle. incorrect conclusion that "iojn Fehruary l. Eftl.'t.
[lr‘tl*i`t' dismissed all charges agath the Plainriff. titus terminating the proceedings in P|aintit`i`s favor."
llowet-cr. t'_`orley`s own pleadings contradicts this claim. as the entire premise of this 'f`omplaint is that the
underlying state prosecution resulted in his federal li_`riminal f_'ourt lloci:et. that the facts underlying
Fiaintit`l's federal criminal charges arc the same facts which supported the state chargesl ivtoreover. during
the Fchruary ll. sui ii prc-trial conferencc. it was made clear that the federal indictment was merely a
continuance of the state chargcs. indicating that the linitcd State nttorncy's fillice was "...worlting with tlte
ll.¢t's office in lvlanitattan who originally had tlti.s case..." Eec p. 3 ofMg. `l'he state action was not
disposed in fiorlcy's favor. Though there is a pending pro se appea|_. fl`orlcy's federal conviction has not hecn
overturnedl Soe F_igl'_tM. lllaintiff. admittedly. remains incarcerated. Pla'rntil"f failed to sufficiently plead
facts to suggest he is innocent of the criminal charges. create a "'co|orahle claim ol` innocence" or free
ltimsclfot' conviction, and thus he cannot sustain a legal malpractice action.

|n light of thc foregoing - l‘laint:iii‘s legal malpractice claim must he dismissed with prejudice as a

matter oflav-'-

    

Lrltlilr'l Tl l't'l Er- t'lrl'lRE

Ncw 'r'orl-r law does not permit claims tior negligent infliction of emotional distress within an
ordinary legal malpractice claim. Echonh' cr v- -` rchult , 142 F_ Supp. |tl'B.l Etl {Ei.l:|l.l‘~i-"r'. i‘tugttst 2-

lfi'i'tl] citing f_`rreeg v. L,elhowjtzl l ill n. ll 2d '."515. l'S'l-lill. fifth l~i-"t’.S_Ed l-lti inpp- lliv_ 2d l','tcpt l':lllti:tl in

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order to maintain such a claim. plaintiff must allege that defendants conduct unreasonable threatened
plaintiffs physical safety in some way. §

l~`uri hcrmore. P|aintil`l`elaint for negligent infliction of emotional distress is time-barred The
limitation period lbr such a claim is one year. §

l [erc. Plaintiff does not allege any particular act giving rise to his purported emotional distress nor
does he assert damages in escess than those he claims he suffered as a result of the malpractice claims
timprisonntent}. |-`urther. Barry ceased representing Plaintiil'in Decembcr .‘itltE. nearly three years before
lt."orlcy commence this action in Docember Eill 5. Ellnce claims li:tr negligent in friction ot`ernctional distress
are afforded a one l|]t year statute of limitations such a claim is time-harrod f_`FLR § ll 5 iii

l.lltintately. this claim fails on net cna but two fmnts. i‘|aintiff`s cause of action for negligent

infliction oi`cmotional distress must be dismissed with prejudice. as a matter of law.

  
 

FLE El} Al'*il]

       

r nasa ns so ser ntssr asst

lin_iusr l-§nrichment claints. stranding in ottasi-contract. must allege that f il delendant was enriched
ill at plaintiii`cspense and il.i} that it is equity to allow detenth to retain the henetlt. Mgntv_.l:'lgt@
lisa F. fiapp. 2d intl tS.lJ.N.Y.Itltl$l. ln order to recover, it must be shown that "pcrlbrmance was rendered
for die defendant". ld. furthemtore. "'witho ut sufficient facts. conclusory allegations that fail to establish
that a defendant was unjustly enriched at the cspertse ofplaintill`wan'ant disntissal. lv|andarin `fradigg. [.td_
MleLin lahl.‘r'- ltd l't'i, lli.i. 944. l"~l-i_-`. 2d llf|sl feel l,t.

l-lere. plaintil`l`does not allege having performed any particular service lirr Elarry- R.ather. Flainliff
claims that Barry incidentally benefitted from having information he necessary acquitted in the defense of
P|aitttirl's criminal claim. t`orlcy claims that naomcy l|artly land hlr. Ban'yl received r'linancial gain" and

pmi`cssiorta| promotion by disclosing unspecific facts of l'iaintifl`s criminal action to tl'te media l'iut:|'t a

benefit is conclusory and not substantiated by any factual allegations.

l‘.l'

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.-ltdditiona|ly, hicw "r'orlt Eourts routinely dismiss claims of fraud related to legal malpractice as
duplicative 'l`own o[ 1t.'tial|l:ill v. llo.mgstein ill Pt.|:l. 3d fill fill l*'l."t’-liEd 2 l 2 fEfIflT]. lhc second
lJeparlment upheld thc trial coort's dismissal ofclaims against art attontey for inter alia littudu|ent
concealman unjust cnrichment. and breach ofcontract finding that Hthey were merely duplicative of die
legal malpractice cause oi`action- as they arose from the same facLs and did not allege distinct and dili'crent
darnagcs"- fiat ll?d- flee also .§g` ge lteg|ty v. l-"rpslrat.ter Eose l_|-E 251 .a..ll.`l'. 2d J.‘i.t_ilfr hi-'f.$. 2d 14 {lst
lJcpt. t‘i'ilt`_ltdismissing claims for breach of contract and fraudulent misrepresentation of "legal espertisc"
on the grounds that the claims are duplicative ct'plaintiffs claims ler legal malpractice against defendant
law firtttl. See h_l__ecca v. f-ihang Eiii lt_ ll 2d Eci'li.filii l~l."r'-ft.Ed dill t ld llept. lllilll} itlismlssing claims for
breach ot'contracL breach ot` fiduciary duty and fraud as duplicative of a legal malpractice clairn}.

."vloreover. the alleged unjust enrichment claim is premised upon the same facts f disclosure of

information to tl'tc medial and seeks the same damages es Plaintlffs professional malpractice claim. ns

sttch. the unjust enrichment must be dismissed with prejudicc. as a matter of law.

Hl]""f[, "t"l

 

hluch like the claims for negligent infliction of emotional distress to successfully plead fraud in
conjunction with legal malpractice. tt F[aintiti`rnust allege damages different than those sustained as a result
of the claimed malpracticc- lvlgel.;lt.j v- iiullivan § l_.igplti.ga F.C. lll"l"l LllS. Dist. LEl'lll:i d§$l" [fi.l§l.l~i-'r'.
lll'll"i|']l.

additionally. when setting forth a claim of Fraud. lied li_ t`Tiv. F'. ll fbi requires that "-.-a pmty must
state with particularly the circumstances constituting t`raud.__"`ihat is to say that a complaint must set
forthwith specificity "the statements made that were false or misleading. give particular as to the respect itt

which it is contended that t|'t-c statement were fraudulent and state the time and place that statements were

Eil'

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made CM F'arutcrs. L-F'. s'. Heg_r, Bterns di Co. ll F_ f;tq:-p. 2d 2?5 ili.D.N.Y. llltitll`t. Those fraudulent
statements must be r'at'iirmative, intentional misrepresentations." letsglriey sgma.

L"orlcy fails to plead his fraud claim with any specificity whatsoever_ t le falls to sau sf y fed li- t,` iv.
l’. t"i'i th} and set forth the fraudtdont statements Barty purportedly tnade. and to whom he made them.
iiathcr, plainti t`[` sole allegation is that l:`tan'y marie l’tnatcrial misrepresentation of fact" at a point between
fletcher and illeccmber ltl].'i. Sce l-’aragraph "'Etli" ol' Plaintil`l"s complaint Flaintiffalleges to have suffered
identical damages as a result of the purported fraud and legal malpractiee: "l’laintil`l"s successive federal
prosecution extended imprisonment. and emotional distress The pleading fails as impermissibly vague and
duplicative oftbe malpractice claims- This is insufficient to sustain such a cause of action.

Plaitttili's claim of fraud should he dismissed with prejutlice-

Pl]ll"'i|T 1't-’ll

 

lt plaintiff pursuing a claim under l~i."r“. lien Eus. Law § ist"l' must establish three elements: f lt ' thcl
challenged act of practice was consumer»oriented". fit the act or practice "'was misleading in a material
ttay“ and r_i`t "thc plaintifl`sufl`ercrl injury as a result ofthe deceptive act“. lt£t"_,_anh i.v_"lv.stMM1
li_r"t. `i'f-tl' l". Eupp- 2d 251 231 [E.llt.hl."l. lan. ll. ll.ll l}eiting §|cgtrnan v. ['hemjcal llgg lift ls`.'r'- 2d
24.2'§'_'.-'3| hl.l:'.ld fifth f ltltl-t]l. Plaintiff docs not allege that the challenge act was consumer oriented. or that
llarr_v made any particular misrepresentationl 1lit-'hen P|aintilffails "to offer any evidence from which thc

t`otu't could conclude that tl'te alleged deceptive practices impacted anyone other titan the plaintiff himsclll"
the claim fails as a matter ot'law. higfjarthy Eup£t,

'fhere fore. the state statutory deceptive businesses cause ofaction should bc dismissed with

prcj Ltdiec.

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Ef§HC Lii§l[l]"~]

insofar as: ill the F'laintitl`s claim of legal malpractice against Ba.rry is subject to dismissal urt tl'rc
grounds that P'lat'ntltl'has failed ro establish his innocence in the underlying criminal action: ill Plaintill`
cannot prove that llarry was a "state actor“ or acted under the color of thc lathl and ill Flaintifi`lai|ed to
satisfy the heightened pleading standard for a claim ot`eonspt'rac y to deprive of constitutional rights by
pleading specific facts beyond mere conclusory allegations; and {-l:r all the state causes of action are
dcficierttl y pleaded; and r[§l irr additional to being delicicntly pleaded. the cause ofaction lirr fraud an unfair
business practices are duplicative of the claim for legal malpractice , it respectfully requested that this
l-lonorable Court grant the instant motion and issue an Urdet dismissing the P|aintiffs ['o:rnplaint in its
entirety with prejudice and as a matter ef]aw. together with such other and furd'rcr reliefas this llZ.`onrt majr
deem jtrst and proper, including prohibiting Plaintiff from commencing nev.' litigation against lnvesti gator

Etarry. without lirsr obtaining Eourt approval

Dated: blew 't’orlt. blew 1'tr"orir
i‘~lttvcm ber . 201 f

 

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ay-: sanitationer resort

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l'vIIEl |r'tEL J. Bdtlllil'f and

Pf.`.`lfi.TE dr Fl [,EE. P.C'.

lt`lll letl~'.¢t "r'ETTF. EiTRF_ ET, .'-il_lITF. slilrl
]’~lls"tlr' ‘r’f]lflf. hi"r' lllt]| 3

rates ssossst*

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